    Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 1 of 39 PageID #:8338




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DYSON, INC. and                                   )
DYSON TECHNOLOGY LIMITED,                         )
                                                  )
                Plaintiffs, Counterclaim-         )
                Defendants                        )
                                                  )
                                                      Case No. 1:14-cv-00779
         v.                                       )
                                                  )
                                                      Judge John W. Darrah
SHARKNINJA OPERATING LLC and                      )
SHARKNINJA SALES COMPANY,                         )
                                                      JURY TRIAL DEMANDED
                                                  )
                Defendants, Counterclaim-         )
                Plaintiffs.

         [PROPOSED] SHARKNINJA’S MOTION FOR LETTERS OF REQUEST
                FOR THE DEPOSITIONS OF CERTAIN INDIVIDUALS
             IN THE UNITED KINGDOM, SINGAPORE, AND DENMARK

         Defendants SharkNinja Operating LLC and SharkNinja Sales Company (collectively,

“SharkNinja”) hereby move for issuance of three Letters of Request to be submitted to the

Competent Authorities of the United Kingdom, Singapore, and Denmark, pursuant to the Hague

Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial

Matters. Proposed Letters of Request are attached hereto as Exhibits 1-3.

         One or more of the patents-in-suit1 list as named inventors three former Dyson employees

who reside in the United Kingdom (Mr. William Robert James White), Singapore (Mr. Michael

James Peace), and Denmark (Mr. Richard Morgan Hickmott). Upon information and belief,

Messrs. White, Peace, and Hickmott are subject to the laws of those respective jurisdictions.

         Messrs. White, Peace, and Hickmott have information highly relevant to the issues in this

case. For example, Dyson has produced a number of design notebooks and other documents that

1
 The patents-in-suit are U.S. Design Patent Nos. D577,163 (“’163 patent”), D668,010 (“’010
patent”), and D668,823 (“’823 patent”).
 Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 2 of 39 PageID #:8339




were written by, addressed to, or otherwise name or involve these named inventors. Moreover,

Dyson has alleged dates of the inventions of the claimed designs of the patents-in-suit based, in

part, on the purported activities of Messrs. White, Peace, and Hickmott during time periods prior

to the filing of the applications of the patents-in-suit.

        Because these persons have knowledge highly relevant to the patents-in-suit and their

alleged inventorship (among other issues), SharkNinja asks the Court to submit the attached

Letters of Request for international judicial assistance pursuant to the Hague Convention on the

Taking of Evidence Abroad in Civil or Commercial Matters.



Dated: July __, 2016                                    Respectfully submitted,

                                                        /s/
                                                        David L. Witcoff
                                                        dlwitcoff@jonesday.com
                                                        Justin M. Philpott
                                                        jmphilpott@jonesday.com
                                                        JONES DAY
                                                        77 West Wacker Drive
                                                        Chicago IL 60601-1692
                                                        Telephone: (312) 782-3939

                                                        John G. Froemming
                                                        jgfroemming@jonesday.com
                                                        Tracy A. Stitt
                                                        tastitt@jonesday.com
                                                        JONES DAY
                                                        51 Louisiana Avenue, NW
                                                        Washington, DC 20001
                                                        Telephone: (202) 872-3939

                                                        John C. Evans
                                                        jcevans@jonesday.com
                                                        JONES DAY
                                                        901 Lakeside Avenue
                                                        Cleveland, OH 44114
                                                        Telephone: (216) 586-3939




                                                    2
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                                           Attorneys for Defendants SharkNinja
                                           Operating, LLC and SharkNinja Sales
                                           Company




                                       3
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July __, 2016, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.



                                                   /s/
                                                   An attorney for Defendants SharkNinja Operating,
                                                   LLC and SharkNinja Sales Company
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 5 of 39 PageID #:8342




                                  EXHIBIT 1
 Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 6 of 39 PageID #:8343




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DYSON, INC. and                                   )
DYSON TECHNOLOGY LIMITED,                         )
                                                  )
               Plaintiffs, Counterclaim-          )
               Defendants                         )
                                                  )
                                                      Case No. 1:14-cv-00779
       v.                                         )
                                                  )
                                                      Judge John W. Darrah
SHARKNINJA OPERATING LLC and                      )
SHARKNINJA SALES COMPANY,                         )
                                                      JURY TRIAL DEMANDED
                                                  )
               Defendants, Counterclaim-          )
               Plaintiffs.                        )

     [PROPOSED] U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF
      ILLINOIS TO THE CENTRAL AUTHORITY OF THE UNITED KINGDOM


REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE PURSUANT TO THE HAGUE CONVENTION OF
     18 MARCH 1970 ON THE TAKING OF EVIDENCE IN CIVIL OR COMMERCIAL MATTERS



1. Sender:                    Judge John W. Darrah
                              United States District Court for the Northern District of Illinois
                              Everett McKinley Dirksen United States Courthouse
                              Chambers 1288
                              219 South Dearborn Street
                              Chicago, Illinois 60604


2. Central Authority of the   The Senior Master
Requested State:              For the attention of the Foreign Process Section
                              Room E16
                              Royal Courts of Justice
                              Strand
                              LONDON WC2A 2LL

                              Telephone:      +44 207 947 6691 / 7786 / 6488 / 6327 / 1741

                              Fax:      +44 870 324 0025

                              E-mail:         foreignprocess.rcj@hmcts.gsi.gov.uk
 Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 7 of 39 PageID #:8344




3. Person to Whom the       John C. Evans
Executed Request is to Be   jcevans@jonesday.com
Returned                    JONES DAY
                            901 Lakeside Avenue
                            Cleveland, OH 44114
                            Telephone: (216) 586-3939


4. Specification of the     This Court respectfully requests that the examination of William
Date by Which the           Robert James White commence on a date as soon as practicable, but
Requesting Authority        no later than November 4, 2016.
Requires Receipt of the
Response to the Letter of
Request

IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE UNDERSIGNED
APPLICANT HAS THE HONOUR TO SUBMIT THE FOLLOWING REQUEST:

5. a. Requesting Judicial   Judge John W. Darrah
Authority:                  United States District Court for the Northern District of Illinois
                            Everett McKinley Dirksen United States Courthouse
                            Chambers 1288
                            219 South Dearborn Street
                            Chicago, Illinois 60604

b. To the Competent         The United Kingdom, England
Authority Of:

c. Name of the Case and     Dyson, Inc. and Dyson Technology, Limited (Plaintiffs) v.
Identifying Number          SharkNinja Operating LLC and SharkNinja Sales Company
                            (Defendants), Case No. 1:14-cv-00779, United States District Court
                            for the Northern District of Illinois

6. Names and Addresses
of the Parties and their
Representatives:

a. Plaintiffs:              Dyson, Inc. and Dyson Technology, Limited

Representatives:            Bryan S. Hales, P.C.
                            bhales@kirkland.com
                            Dennis J. Abdelnour
                            dabdelnour@kirkland.com
                            Ian J. Block
                            ian.block@kirkland.com
                            Jay J. Emerick
 Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 8 of 39 PageID #:8345




                        jay.emerick@kirkland.com
                        KIRKLAND & ELLIS LLP
                        300 North LaSalle
                        Chicago, Illinois 60654
                        Telephone: (312) 862-2000
                        Facsimile: (312) 862-2200

                        Gregg F. LoCascio, P.C.
                        glocascio@kirkland.com
                        KIRKLAND & ELLIS LLP
                        655 Fifteenth Street, N.W.
                        Washington, D.C. 20005-5793
                        Telephone: (202) 879-5000
                        Facsimile: (202) 879-5200

b. Defendants:          SharkNinja Operating LLC and SharkNinja Sales Company

Representatives:        David L. Witcoff
                        dlwitcoff@jonesday.com
                        Justin M. Philpott
                        jmphilpott@jonesday.com
                        Patrick J. O’Rear
                        porear@jonesday.com
                        JONES DAY
                        77 West Wacker Drive
                        Chicago IL 60601-1692
                        Telephone: (312) 782-3939

                        John G. Froemming
                        jgfroemming@jonesday.com
                        Tracy A. Stitt
                        tastitt@jonesday.com
                        JONES DAY
                        51 Louisiana Avenue, NW
                        Washington, DC 20001
                        Telephone: (202) 872-3939

                        John C. Evans
                        jcevans@jonesday.com
                        JONES DAY
                        901 Lakeside Avenue
                        Cleveland, OH 44114
                        Telephone: (216) 586-3939
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c. Other Parties              None.

Representatives               None.

7.      Nature and Purpose of the Proceedings and Summary of the Facts.

        This Letter of Request arises from a design patent infringement civil action (the
“Lawsuit”) currently pending before the Requesting Judicial Authority. Set out in Exhibit 1 is a
detailed summary of the nature and purpose of the proceedings and a summary of the facts.

8.      Evidence to be Obtained or other Judicial Act to be Performed.

       The Requesting Judicial Authority seeks oral evidence or testimony to be given by
William Robert James White on the subject matter or topics set out in Exhibit 2.

9.      Identity and Address of Any Person to be Examined.

        SharkNinja identifies the best known address at this time, as follows:

        William Robert James White

        Tredern, West End
        Pernyn, Cornwall
        United Kingdom, TR10-8HE


10.    Questions to be Put to the Persons to be Examined or Statement of the Subject Matter
about which They are to be Examined.

       The Requesting Judicial Authority requests that an attorney for the Defendants be
permitted to examine Mr. White regarding the subject matter or topics set out in Exhibit 2.

11.     Documents or Other Property to be Inspected

      Documentary evidence is not required at this time, but may be sought at a later time after
examination of Mr. White.

12.    Any requirement that the Evidence be on Oath or Affirmation and Any Special Form to
be Used.

        This Court respectfully requests that the examination of Mr. White be taken under oath
before a person authorized to administer oaths in the United Kingdom or as provided by local
law on the formal taking of evidence. This Court further requests that you require the testimony
given during the examination to be given under the following oath: “I, William Robert James
White, swear that the testimony that I am about to give is the truth, the whole truth and nothing
but the truth.”
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 10 of 39 PageID #:8347




13.    Special Methods or Procedures to be Followed.

        This Court respectfully requests that the examination be taken under the United States
Federal Rules of Civil Procedure and the United States Federal Rules of Evidence, except to the
extent that such procedure is incompatible with local law.

       This Court further requests that the examination occur at a date and time mutually agreed
upon by Mr. White and the parties. It is also requested that the attorneys for the parties be
permitted to examine the witness directly; that all testimony be recorded verbatim in writing and
on videotape; and that all transcripts of such testimony be authenticated in accordance with the
procedures for the local court and be permitted to be delivered to the parties at the conclusion of
the proceedings for eventual use at trial.

14.     Request for Notification of the Time and Place for the Execution of the Request and
Identity and Address of any Person to be Notified.

               This Court respectfully requests that the following be notified of the time and
               place for the execution of the Request:

               Judge John W. Darrah
               United States District Court for the Northern District of Illinois
               Everett McKinley Dirksen United States Courthouse
               Chambers 1288
               219 South Dearborn Street
               Chicago, Illinois 60604

               Please also notify the party representatives identified as follows:

               David L. Witcoff                      Bryan S. Hales, P.C.
               dlwitcoff@jonesday.com                bhales@kirkland.com
               Justin M. Philpott                    Dennis J. Abdelnour
               jmphilpott@jonesday.com               dabdelnour@kirkland.com
               Patrick J. O’Rear                     Ian J. Block
               porear@jonesday.com                   ian.block@kirkland.com
               JONES DAY                             Jay J. Emerick
               77 West Wacker Drive                  jay.emerick@kirkland.com
               Chicago IL 60601-1692                 KIRKLAND & ELLIS LLP
               Telephone: (312) 782-3939             300 North LaSalle
                                                     Chicago, Illinois 60654
               John G. Froemming                     Telephone: (312) 862-2000
               jgfroemming@jonesday.com              Facsimile: (312) 862-2200
               Tracy A. Stitt
               tastitt@jonesday.com                  Gregg F. LoCascio, P.C.
               JONES DAY                             glocascio@kirkland.com
               51 Louisiana Avenue, NW               KIRKLAND & ELLIS LLP
               Washington, DC 20001                  655 Fifteenth Street, N.W.
               Telephone: (202) 872-3939             Washington, D.C. 20005-5793
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 11 of 39 PageID #:8348




                                                     Telephone: (202) 879-5000
               John C. Evans                         Facsimile: (202) 879-5200
               jcevans@jonesday.com
               JONES DAY
               901 Lakeside Avenue
               Cleveland, OH 44114
               Telephone: (216) 586-3939

15.     Request for Attendance or Participation of Judicial Personnel of the Requesting Authority
at the Execution of the Letter Request.

       None.

16.    Specification of Privilege or Duty to Give Evidence under the Law of the State of Origin.

        Under the laws of the United States, Mr. White may refuse to give any evidence which
calls for the disclosure of any confidential communications between Mr. White and his counsel
wherein such communications are made in the course of a request for legal advice. This
privilege is known as the attorney-client privilege.

        In addition, if Mr. White performed work at the direction of his counsel for the purposes
of assisting such counsel in anticipation of litigation or the furtherance of litigation, he may
refuse to answer questions concerning such reviews, unless: (1) the answers do not involve the
mental impressions of such counsel; and (2) the examining party can show a substantial need for
the evidence and an inability to obtain the substantive equivalent of the evidence by other means
without undue hardship. This privilege is known as the work-product doctrine.

       If testimony or production of documents is withheld on either of these grounds, a
statement to that effect must be made at the time of the taking of the testimony or production of
documents.

        Unless prohibited by the procedures and laws of the United Kingdom, any dispute
regarding the application of the attorney-client privilege or work-product privilege may be
referred to the United States District Court for the Northern District of Illinois by telephone
conference at the time the dispute arises.

17.    Fees and Costs

       The fees and costs incurred which are reimbursable under the second paragraph of Article
14 or under Article 26 of the Convention will be borne by the Defendants up to a total of $500.00.

       Beyond $500.00, fees and costs which are reimbursable under the Convention will be
borne by the Defendants with prior consent of the Defendants. When seeking this consent, the
Witness shall indicate the approximate costs which would result from this procedure. If the
Defendants give consent, they shall reimburse any costs incurred; without such consent, the
Defendants shall not be liable for the costs.
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 12 of 39 PageID #:8349




Witnessed by The Honorable Judge John W. Darrah

       Signed:

       Hon. John W. Darrah
       District Judge, Northern District of Illinois

       Dated:



I, Thomas G. Bruton, Clerk of this United States District Court, keeper of the records and seal,
certify that the Honorable John W. Darrah is and was on this very day noted a Judicial Officer of
the Court, duly appointed, sworn, and qualified, and that I am well acquainted with the Judicial
Officer’s official signature and know and certify the above signature to be that of the Judicial
Officer.

       Signed:

       Thomas G. Bruton
       Clerk of the United States District Court for the Northern District of Illinois

       Dated:



I, Judge John W. Darrah, a Judicial Officer of this Court, certify that Thomas G. Bruton, the
above-named, is and was on the date noted, the Clerk of this Court, duly appointed and sworn
and keeper of the records and seals.

Witnessed by The Honorable Judge John W. Darrah

       Signed:

       Hon. John W. Darrah
       District Judge, Northern District of Illinois

       Dated:
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 13 of 39 PageID #:8350




                                           EXHIBIT 1

         NATURE AND PURPOSE OF THE PROCEEDINGS AND SUMMARY OF THE FACTS

This is a design patent infringement action currently pending before the United States District
Court for the Northern District of Illinois (the “Court”), captioned as Dyson, Inc. et al. v.
SharkNinja Operating LLC et al., No. 14-cv-779 (the “Lawsuit”). The plaintiffs in this Lawsuit
are Dyson, Inc. and Dyson Technology Limited (collectively, “Dyson” or “Plaintiffs”). Plaintiff
Dyson, Inc. is an American corporation established under the laws of the state of Illinois.
Plaintiff Dyson Technology Limited is a private limited company established under the laws of
England and Wales. The defendants in this Lawsuit are SharkNinja Operating LLC and
SharkNinja Sales Company (collectively, “SharkNinja” or “Defendants”). Defendants are
American corporations established under the laws of the state of Delaware.

In the Lawsuit, Dyson alleges that SharkNinja infringes the claimed designs of three United
States design patents: U.S. Design Patent Nos. D577,163 (“’163 patent”), D668,010 (“’010
patent”), and D668,823 (“’823 patent”) (collectively, the “patents-in-suit”). SharkNinja denies
all allegations and further avers that the claimed designs of the patents-in-suit are invalid. On
February 4, 2014, Dyson filed an original complaint against SharkNinja, alleging infringement of
the ’010 and ’823 patents. On March 28, 2014, SharkNinja filed its initial answer, affirmative
defenses, and counterclaims. On May 12, 2014, Dyson filed an amended complaint against
SharkNinja, alleging infringement of the ’163, ’010, and ’823 patents. On May 23, 2014,
SharkNinja filed its answer to Dyson’s amended complaint, affirmative defenses, and
counterclaims.

The patents-in-suit name the following individuals as inventors: Peter David Gammack, James
Dyson, Michael James Peace, William Robert James White, William Frame Milne, and Richard
Morgan Hickmott. In connection with discovery in the Lawsuit, Dyson has produced a number
of documents to SharkNinja, some of which appear to be Dyson internal notebooks,
communications, or other correspondence either from, to, or otherwise mentioning the named
inventor whose testimony SharkNinja presently seeks. Dyson also has alleged dates of invention
of the patents-in-suit that pre-date the respective filing dates of the applications that led to the
patents-in-suit, based in part on the activities of one or more of the named inventors.

                                          THE WITNESS

Mr. White is a named inventor of the ’163 patent. Moreover, Dyson has confirmed that Mr.
White is relevant to the Lawsuit. In Dyson’s Fed. R. Civ. P. 26(a)(1) Second Amended
Disclosures, Dyson identified Mr. White as a person likely to have discoverable information that
Dyson may use to support its claims and/or defenses. In particular, Dyson represented that Mr.
White formerly was Head of NPI at Dyson Technology Limited, and that he is expected to be
generally knowledgeable about the conception and development of the designs described in
the ’163 patent, as well as the designs utilized in Dyson’s handheld vacuum cleaners. Dyson
also has produced substantial volumes of documents relating to the conception, reduction to
practice, and development of the claimed designs of all three patents-in-suit that were either
authored or received by Mr. White, or otherwise mention him. Accordingly, the discovery
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 14 of 39 PageID #:8351




provided by Dyson to SharkNinja in the Lawsuit is consistent with Mr. White’s key role at
Dyson and his personal involvement in key events relating to Dyson’s claims of design patent
infringement. Given Mr. White’s key role at Dyson and his personal involvement in such events,
SharkNinja therefore seeks to examine him on the topics listed below, including documents and
communications that relate thereto.
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 15 of 39 PageID #:8352




                                           EXHIBIT 2

                           TESTIMONY SOUGHT FROM THE WITNESS

In interpreting the requests below, the following definitions should apply:

   1. As used herein, the term “Dyson” shall mean and include Dyson, Inc. and Dyson
      Technology Limited and all predecessors (merged, acquired, or otherwise), subsidiaries,
      parents, joint ventures, and affiliates thereof, and all current and former directors, officers,
      agents, employees, attorneys, and other persons acting on its behalf.

   2. As used herein, the term “Claimed Designs” shall mean and include the designs claimed
      in the patents-in-suit.

Topics for examination:

   1. Matters relating to the patents-in-suit, namely:

       a. The circumstances surrounding the conception, reduction to practice, design, and
          development of the Claimed Designs;

       b. The role(s) played by Mr. White and the other named inventors, Peter David
          Gammack, James Dyson, Michael James Peace, William Frame Milne, and Richard
          Morgan Hickmott, in the conception, development, and reduction to practice of the
          Claimed Designs, including any alleged diligence between conception of the Claimed
          Designs and their reduction to practice;

       c. The role(s) played by any person other than a named inventor, including but not
          limited to Timothy Nicholas Stickney, Stephen Courtney, and Jon Marsh, in the
          conception, development, and reduction to practice of the Claimed Designs, including
          any alleged diligence between conception of the Claimed Designs and their reduction
          to practice;

       d. Knowledge and understanding of the state of the art of the fields of handheld and
          stick vacuum cleaner design as of the alleged dates of conception of the Claimed
          Designs, including:

           i. the ways in which the Claimed Designs advanced the art in the fields of handheld
              and stick vacuum cleaner design; and

           ii. Mr. White’s understanding of the meaning and disclosure made in articles,
               publications, presentations, or papers related to the fields of handheld and stick
               vacuum cleaner design.
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 16 of 39 PageID #:8353




     e. Prosecution of the patents-in-suit.

  2. Matters relating to Dyson, namely:

     a. Descriptions of Mr. White’s work performed, job duties and responsibilities, and
        titles held while employed at Dyson;

     b. The terms of any employment agreements between Dyson and Mr. White; and

     c. Dyson’s designs for vacuum cleaners and components thereof, including but not
        limited to Dyson’s hand vacuum cleaner designs and stick vacuum cleaner designs.

  3. Matters relating to this Lawsuit, namely:

     a. Mr. White’s knowledge of the factual basis for Dyson’s accusations of infringement
        against SharkNinja;

     b. The interest Mr. White has in this Lawsuit, if any;

     c. Discussions between Mr. White and Dyson about the Lawsuit, and any evidence Mr.
        White may be able to give in the Lawsuit about those discussions; and

     d. Discussions between Mr. White and Dyson, or any other person, regarding this
        Lawsuit, and any evidence Mr. White may be able to give about those discussions.
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 17 of 39 PageID #:8354




                                   EXHIBIT 2
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 18 of 39 PageID #:8355




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DYSON, INC. and                                   )
DYSON TECHNOLOGY LIMITED,                         )
                                                  )
               Plaintiffs, Counterclaim-          )
               Defendants                         )
                                                  )
                                                      Case No. 1:14-cv-00779
       v.                                         )
                                                  )
                                                      Judge John W. Darrah
SHARKNINJA OPERATING LLC and                      )
SHARKNINJA SALES COMPANY,                         )
                                                      JURY TRIAL DEMANDED
                                                  )
               Defendants, Counterclaim-          )
               Plaintiffs.                        )

     [PROPOSED] U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF
          ILLINOIS TO THE CENTRAL AUTHORITY OF SINGAPORE


REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE PURSUANT TO THE HAGUE CONVENTION OF
     18 MARCH 1970 ON THE TAKING OF EVIDENCE IN CIVIL OR COMMERCIAL MATTERS



1. Sender:                    Judge John W. Darrah
                              United States District Court for the Northern District of Illinois
                              Everett McKinley Dirksen United States Courthouse
                              Chambers 1288
                              219 South Dearborn Street
                              Chicago, Illinois 60604


2. Central Authority of the   Supreme Court of Singapore
Requested State:              1 Supreme Court Lane
                              Singapore 178879

                              Telephone:      (+65) 6332-3912

                              Fax:      (+65) 6337-9450

                              E-mail:         supcourt_qsm@supcourt.gov.sg

3. a. Person to Whom the      John C. Evans
Executed Request is to Be     jcevans@jonesday.com
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 19 of 39 PageID #:8356




Returned                    JONES DAY
                            901 Lakeside Avenue
                            Cleveland, OH 44114
                            Telephone: (216) 586-3939

b. Specification of the     This Court respectfully requests that the examination of Michael
Date by Which the           James Peace commence on a date as soon as practicable, but no
Requesting Authority        later than November 4, 2016.
Requires Receipt of the
Response to the Letter of
Request

4. In Conformity with Article 3 of the Convention, the Undersigned Applicant has the Honor to
Submit the Following Request:

a. Requesting Judicial      Judge John W. Darrah
Authority:                  United States District Court for the Northern District of Illinois
                            Everett McKinley Dirksen United States Courthouse
                            Chambers 1288
                            219 South Dearborn Street
                            Chicago, Illinois 60604

b. To the Competent         Singapore
Authority Of:

c. Party Making             WONG TAN & MOLLY LIM LLC
Application on Behalf of    80 Robinson Road #17-02
Requesting Judicial         Singapore 068898
Authority

d. Name of the Case and     Dyson, Inc. and Dyson Technology, Limited (Plaintiffs) v.
Identifying Number          SharkNinja Operating LLC and SharkNinja Sales Company
                            (Defendants), Case No. 1:14-cv-00779, United States District Court
                            for the Northern District of Illinois

5. Names and Addresses of the Parties and their Representatives:

a. Plaintiffs:              Dyson, Inc. and Dyson Technology, Limited

Counsel for Plaintiffs:     Bryan S. Hales, P.C.
                            bhales@kirkland.com
                            Dennis J. Abdelnour
                            dabdelnour@kirkland.com
                            Ian J. Block
                            ian.block@kirkland.com
                            Jay J. Emerick
                            jay.emerick@kirkland.com
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 20 of 39 PageID #:8357




                          KIRKLAND & ELLIS LLP
                          300 North LaSalle
                          Chicago, Illinois 60654
                          Telephone: (312) 862-2000
                          Facsimile: (312) 862-2200

                          Gregg F. LoCascio, P.C.
                          glocascio@kirkland.com
                          KIRKLAND & ELLIS LLP
                          655 Fifteenth Street, N.W.
                          Washington, D.C. 20005-5793
                          Telephone: (202) 879-5000
                          Facsimile: (202) 879-5200

b. Defendants:            SharkNinja Operating LLC and SharkNinja Sales Company

Counsel for Defendants:   David L. Witcoff
                          dlwitcoff@jonesday.com
                          Justin M. Philpott
                          jmphilpott@jonesday.com
                          Patrick J. O’Rear
                          porear@jonesday.com
                          JONES DAY
                          77 West Wacker Drive
                          Chicago IL 60601-1692
                          Telephone: (312) 782-3939

                          John G. Froemming
                          jgfroemming@jonesday.com
                          Tracy A. Stitt
                          tastitt@jonesday.com
                          JONES DAY
                          51 Louisiana Avenue, NW
                          Washington, DC 20001
                          Telephone: (202) 872-3939

                          John C. Evans
                          jcevans@jonesday.com
                          JONES DAY
                          901 Lakeside Avenue
                          Cleveland, OH 44114
                          Telephone: (216) 586-3939

Associate Counsel for     Ling Daw Hoang Philip
Defendants:               pling@wtl.com.sg
                          Ho Wei Li
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 21 of 39 PageID #:8358




                              wlho@wtl.com.sg
                              WONG TAN & MOLLY LIM LLC
                              80 Robinson Road #17-02
                              Singapore 068898

6.     Nature and purpose of the proceedings and summary of the facts.

        This Letter of Request arises from a design patent infringement civil action (the
“Lawsuit”) currently pending before the Requesting Judicial Authority. Set out in Exhibit 1 is a
detailed summary of the nature and purpose of the proceedings and a summary of the facts.

7.     Evidence to be obtained or other judicial act to be performed.

The Requesting Judicial Authority seeks oral evidence or testimony to be given by Mr. Peace on
the subject matter or topics set out in Exhibit 1.

8.     Identity and address of any person to be examined or whose records are sought.

       SharkNinja identifies the best known address at this time, as follows:

       Michael James Peace

       76A Redhill Road
       #11-06
       Singapore
       151076

9.     Questions to be put to the persons to be examined or statement of the subject matter about
which they are to be examined.

       The Requesting Judicial Authority requests that:

       a. an attorney for the Defendants be permitted to examine Mr. Peace regarding the subject
matter or topics set out in Exhibit 1 in the presence of an attorney for the Plaintiffs;

        b. an attorney for the Plaintiffs be permitted to examine Mr. Peace regarding matters
raised in the initial examination in the presence of an attorney for the Defendants thereafter; and

        c. an attorney for the Defendants then be permitted to re-examine Mr. Peace regarding the
questions raised by the attorney for the Plaintiffs in the presence of an attorney for the Plaintiffs
thereafter.

        For the avoidance of doubt, the examinations requested above include the use of leading
questions by the attorney representing the Defendants. However, the attorney for the Plaintiffs
will not be permitted to ask leading questions.

10.    Documents or other property to be inspected
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       Documentary evidence is not required at this time, but may be sought at a later time after
the examination of Mr. Peace.

11.   Any requirement that the evidence be on oath or affirmation and any special form to be
used.

        This Court respectfully requests that the examination of Mr. Peace be taken under oath
before an Assistant Registrar of the Supreme Court of Singapore. This Court further requests
that you require the testimony given during the examination to be given under the following oath:
“I, Michael James Peace, swear that the testimony that I am about to give is the truth, the whole
truth and nothing but the truth.”

12.    Special methods or procedures to be followed.

        This Court respectfully requests that the examination be taken under the United States
Federal Rules of Civil Procedure and the United States Federal Rules of Evidence, except to the
extent that such procedure is incompatible with local law.

       This Court further requests that the examination occur at a date and time mutually agreed
upon by Mr. Peace and the parties. It is also requested that the attorneys for the parties be
permitted to examine the witness directly; that all testimony be recorded verbatim in writing and
on videotape; and that all transcripts of such testimony be authenticated in accordance with the
procedures of the Supreme Court of Singapore and be permitted to be delivered to the parties at
the conclusion of the proceedings for eventual use at trial.

13.     Request for notification of the time and place for the Execution of the Request and
identity and address of any person to be notified.

               This Court respectfully requests that the following be notified of the time and
               place for the execution of the Request:

               Judge John W. Darrah
               United States District Court for the Northern District of Illinois
               Everett McKinley Dirksen United States Courthouse
               Chambers 1288
               219 South Dearborn Street
               Chicago, Illinois 60604

               Please also notify the party representatives identified as follows:

               David L. Witcoff                        Bryan S. Hales, P.C.
               dlwitcoff@jonesday.com                  bhales@kirkland.com
               Justin M. Philpott                      Dennis J. Abdelnour
               jmphilpott@jonesday.com                 dabdelnour@kirkland.com
               Patrick J. O’Rear                       Ian J. Block
               porear@jonesday.com                     ian.block@kirkland.com
               JONES DAY                               Jay J. Emerick
               77 West Wacker Drive                    jay.emerick@kirkland.com
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 23 of 39 PageID #:8360




               Chicago IL 60601-1692                   KIRKLAND & ELLIS LLP
               Telephone: (312) 782-3939               300 North LaSalle
                                                       Chicago, Illinois 60654
               John G. Froemming                       Telephone: (312) 862-2000
               jgfroemming@jonesday.com                Facsimile: (312) 862-2200
               Tracy A. Stitt
               tastitt@jonesday.com                    Gregg F. LoCascio, P.C.
               JONES DAY                               glocascio@kirkland.com
               51 Louisiana Avenue, NW                 KIRKLAND & ELLIS LLP
               Washington, DC 20001                    655 Fifteenth Street, N.W.
               Telephone: (202) 872-3939               Washington, D.C. 20005-5793
                                                       Telephone: (202) 879-5000
               John C. Evans                           Facsimile: (202) 879-5200
               jcevans@jonesday.com
               JONES DAY
               901 Lakeside Avenue
               Cleveland, OH 44114
               Telephone: (216) 586-3939


14.     Request for Attendance or Participation of Judicial Personnel of the Requesting Authority
at the Execution of the Letter Request.

       None.

15.    Specification of privilege or duty to give evidence under the law of the State of origin.

        Under the laws of the United States, Mr. Peace may refuse to give any evidence which
calls for the disclosure of any confidential communications between Mr. Peace and his counsel
wherein such communications are made in the course of a request for legal advice. This
privilege is known as the attorney-client privilege.

        In addition, if Mr. Peace performed work at the direction of his counsel for the purposes
of assisting such counsel in anticipation of litigation or the furtherance of litigation, he may
refuse to answer questions concerning such reviews, unless: (1) the answers do not involve the
mental impressions of such counsel; and (2) the examining party can show a substantial need for
the evidence and an inability to obtain the substantive equivalent of the evidence by other means
without undue hardship. This privilege is known as the work-product doctrine.

       If testimony or production of documents is withheld on either of these grounds, a
statement to that effect must be made at the time of the taking of the testimony or production of
documents.

       Unless prohibited by the procedures and laws of Singapore, any dispute regarding the
application of the attorney-client privilege or work-product privilege may be referred to the
United States District Court for the Northern District of Illinois by telephone conference at the
time the dispute arises.
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16.    Fees and costs

       The fees and costs incurred which are reimbursable under the second paragraph of Article
14 or under Article 26 of the Convention will be borne by the Defendants to the extent those fees
and costs are reasonable.
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Witnessed by The Honorable Judge John W. Darrah

       Signed:

       Hon. John W. Darrah
       District Judge, Northern District of Illinois

       Dated:



I, Thomas G. Bruton, Clerk of this United States District Court, keeper of the records and seal,
certify that the Honorable John W. Darrah is and was on this very day noted a Judicial Officer of
the Court, duly appointed, sworn, and qualified, and that I am well acquainted with the Judicial
Officer’s official signature and know and certify the above signature to be that of the Judicial
Officer.

       Signed:

       Thomas G. Bruton
       Clerk of the United States District Court for the Northern District of Illinois

       Dated:



I, Judge John W. Darrah, a Judicial Officer of this Court, certify that Thomas G. Bruton, the
above-named, is and was on the date noted, the Clerk of this Court, duly appointed and sworn
and keeper of the records and seals.

Witnessed by The Honorable Judge John W. Darrah

       Signed:

       Hon. John W. Darrah
       District Judge, Northern District of Illinois

       Dated:
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 26 of 39 PageID #:8363




                                           EXHIBIT 1

         NATURE AND PURPOSE OF THE PROCEEDINGS AND SUMMARY OF THE FACTS

This is a design patent infringement action currently pending before the United States District
Court for the Northern District of Illinois (the “Court”), captioned as Dyson, Inc. et al. v.
SharkNinja Operating LLC et al., No. 14-cv-779 (the “Lawsuit”). The plaintiffs in this Lawsuit
are Dyson, Inc. and Dyson Technology Limited (collectively, “Dyson” or “Plaintiffs”). Plaintiff
Dyson, Inc. is an American corporation established under the laws of the state of Illinois.
Plaintiff Dyson Technology Limited is a private limited company established under the laws of
England and Wales. The defendants in this Lawsuit are SharkNinja Operating LLC and
SharkNinja Sales Company (collectively, “SharkNinja” or “Defendants”). Defendants are
American corporations established under the laws of the state of Delaware.

In the Lawsuit, Dyson alleges that SharkNinja infringes the claimed designs of three United
States design patents: U.S. Design Patent Nos. D577,163 (“’163 patent”), D668,010 (“’010
patent”), and D668,823 (“’823 patent”) (collectively, the “patents-in-suit”). SharkNinja denies
all allegations and further avers that the claimed designs of the patents-in-suit are invalid. On
February 4, 2014, Dyson filed an original complaint against SharkNinja, alleging infringement of
the ’010 and ’823 patents. On March 28, 2014, SharkNinja filed its initial answer, affirmative
defenses, and counterclaims. On May 12, 2014, Dyson filed an amended complaint against
SharkNinja, alleging infringement of the ’163, ’010, and ’823 patents. On May 23, 2014,
SharkNinja filed its answer to Dyson’s amended complaint, affirmative defenses, and
counterclaims.

The patents-in-suit name the following individuals as inventors: Peter David Gammack, James
Dyson, Michael James Peace, William Robert James White, William Frame Milne, and Richard
Morgan Hickmott. In connection with discovery in the Lawsuit, Dyson has produced a number
of documents to SharkNinja, some of which appear to be Dyson internal notebooks,
communications, or other correspondence either from, to, or otherwise mentioning the named
inventor whose testimony SharkNinja presently seeks. Dyson also has alleged dates of invention
of the patents-in-suit that pre-date the respective filing dates of the applications that led to the
patents-in-suit, based in part on the activities of one or more of the named inventors.

                                          THE WITNESS

Mr. Peace is a named inventor of the ’163 patent. Moreover, Dyson has confirmed that Mr.
Peace is relevant to the Lawsuit. In Dyson’s Fed. R. Civ. P. 26(a)(1) Second Amended
Disclosures, Dyson identified Mr. Peace as a person likely to have discoverable information that
Dyson may use to support its claims and/or defenses. In particular, Dyson represented that Mr.
Peace formerly was a Design Manager at Dyson Technology Limited, and that he is expected to
be generally knowledgeable about the conception and development of the designs described in
the ’163 patent, as well as the designs utilized in Dyson’s handheld vacuum cleaners. Dyson
also has produced substantial volumes of documents relating to the conception, reduction to
practice, and development of the claimed designs of all three patents-in-suit that were either
authored or received by Mr. Peace, or otherwise mention him. Accordingly, the discovery
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provided by Dyson to SharkNinja in the Lawsuit is consistent with Mr. Peace’s key role at
Dyson and his personal involvement in key events relating to Dyson’s claims of design patent
infringement. Given Mr. Peace’s key role at Dyson and his personal involvement in such events,
SharkNinja therefore seeks to examine him on the topics listed below, including documents and
communications that relate thereto.

                           TESTIMONY SOUGHT FROM THE WITNESS

In interpreting the requests below, the following definitions should apply:

   1. As used herein, the term “Dyson” shall mean and include Dyson, Inc. and Dyson
      Technology Limited and all predecessors (merged, acquired, or otherwise), subsidiaries,
      parents, joint ventures, and affiliates thereof, and all current and former directors, officers,
      agents, employees, attorneys, and other persons acting on its behalf.

   2. As used herein, the term “Claimed Designs” shall mean and include the designs claimed
      in the patents-in-suit.

SharkNinja believes that Mr. Peace has knowledge of:

   1. Matters relating to the patents-in-suit, namely:

       a. The circumstances surrounding the conception, reduction to practice, design, and
          development of the Claimed Designs;

       b. The role(s) played by Mr. Peace and the other named inventors, Peter David
          Gammack, James Dyson, William Robert James White, William Frame Milne, and
          Richard Morgan Hickmott, in the conception, development, and reduction to practice
          of the Claimed Designs, including any alleged diligence between conception of the
          Claimed Designs and their reduction to practice;

       c. The role(s) played by any person other than a named inventor, including but not
          limited to Timothy Nicholas Stickney, Stephen Courtney, and Jon Marsh, in the
          conception, development, and reduction to practice of the Claimed Designs, including
          any alleged diligence between conception of the Claimed Designs and their reduction
          to practice;

       d. Knowledge and understanding of the state of the art of the fields of handheld and
          stick vacuum cleaner design as of the alleged dates of conception of the Claimed
          Designs, including:

           i. the ways in which the Claimed Designs advanced the art in the fields of handheld
              and stick vacuum cleaner design; and
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         ii. Mr. Peace’s understanding of the meaning and disclosure made in articles,
             publications, presentations, or papers related to the fields of handheld and stick
             vacuum cleaner design.

     e. Prosecution of the patents-in-suit.

  2. Matters relating to Dyson, namely:

     a. Descriptions of Mr. Peace’s work performed, job duties and responsibilities, and titles
        held while employed at Dyson;

     b. The terms of any employment agreements between Dyson and Mr. Peace; and

     c. Dyson’s designs for vacuum cleaners and components thereof, including but not
        limited to Dyson’s hand vacuum cleaner designs and stick vacuum cleaner designs.

  3. Matters relating to this Lawsuit, namely:

     a. Mr. Peace’s knowledge of the factual basis for Dyson’s accusations of infringement
        against SharkNinja;

     b. The interest Mr. Peace has in this Lawsuit, if any;

     c. Discussions between Mr. Peace and Dyson about the Lawsuit, and any evidence Mr.
        Peace may be able to give in the Lawsuit about those discussions; and

     d. Discussions between Mr. Peace and Dyson, or any other person, regarding this
        Lawsuit, and any evidence Mr. Peace may be able to give about those discussions.
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 29 of 39 PageID #:8366




                                   EXHIBIT 3
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 30 of 39 PageID #:8367




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DYSON, INC. and                                   )
DYSON TECHNOLOGY LIMITED,                         )
                                                  )
               Plaintiffs, Counterclaim-          )
               Defendants                         )
                                                  )
                                                      Case No. 1:14-cv-00779
       v.                                         )
                                                  )
                                                      Judge John W. Darrah
SHARKNINJA OPERATING LLC and                      )
SHARKNINJA SALES COMPANY,                         )
                                                      JURY TRIAL DEMANDED
                                                  )
               Defendants, Counterclaim-          )
               Plaintiffs.                        )

     [PROPOSED] U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF
           ILLINOIS TO THE CENTRAL AUTHORITY OF DENMARK


REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE PURSUANT TO THE HAGUE CONVENTION OF
     18 MARCH 1970 ON THE TAKING OF EVIDENCE IN CIVIL OR COMMERCIAL MATTERS



1. Sender:                    Judge John W. Darrah
                              United States District Court for the Northern District of Illinois
                              Everett McKinley Dirksen United States Courthouse
                              Chambers 1288
                              219 South Dearborn Street
                              Chicago, Illinois 60604


2. Central Authority of the   Ministry of Justice
Requested State:              Procedural Law Division
                              Slotsholmsgade 10
                              1216 COPENHAGEN K
                              Denmark

                              Telephone:     (+45) 7226 8400

                              Fax:   (+45) 3393 3510

                              E-mail:        jm@jm.dk
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 31 of 39 PageID #:8368




3. a. Person to Whom the    John C. Evans
Executed Request is to Be   jcevans@jonesday.com
Returned                    JONES DAY
                            901 Lakeside Avenue
                            Cleveland, OH 44114
                            Telephone: (216) 586-3939

b. Specification of the     This Court respectfully requests that the examination of Richard
Date by Which the           Morgan Hickmott commence on a date as soon as practicable, but
Requesting Authority        no later than November 4, 2016.
Requires Receipt of the
Response to the Letter of
Request

4. In Conformity with Article 3 of the Convention, the Undersigned Applicant has the Honor to
Submit the Following Request:

a. Requesting Judicial      Judge John W. Darrah
Authority:                  United States District Court for the Northern District of Illinois
                            Everett McKinley Dirksen United States Courthouse
                            Chambers 1288
                            219 South Dearborn Street
                            Chicago, Illinois 60604

b. To the Competent         Denmark
Authority Of:

c. Name of the Case and     Dyson, Inc. and Dyson Technology, Limited (Plaintiffs) v.
Identifying Number          SharkNinja Operating LLC and SharkNinja Sales Company
                            (Defendants), Case No. 1:14-cv-00779, United States District Court
                            for the Northern District of Illinois

5. Names and Addresses of the Parties and their Representatives

a. Plaintiffs:              Dyson, Inc. and Dyson Technology, Limited

Counsel for Plaintiffs:     Bryan S. Hales, P.C.
                            bhales@kirkland.com
                            Dennis J. Abdelnour
                            dabdelnour@kirkland.com
                            Ian J. Block
                            ian.block@kirkland.com
                            Jay J. Emerick
                            jay.emerick@kirkland.com
                            KIRKLAND & ELLIS LLP
                            300 North LaSalle
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 32 of 39 PageID #:8369




                          Chicago, Illinois 60654
                          Telephone: (312) 862-2000
                          Facsimile: (312) 862-2200

                          Gregg F. LoCascio, P.C.
                          glocascio@kirkland.com
                          KIRKLAND & ELLIS LLP
                          655 Fifteenth Street, N.W.
                          Washington, D.C. 20005-5793
                          Telephone: (202) 879-5000
                          Facsimile: (202) 879-5200

b. Defendants:            SharkNinja Operating LLC and SharkNinja Sales Company

Counsel for Defendants:   David L. Witcoff
                          dlwitcoff@jonesday.com
                          Justin M. Philpott
                          jmphilpott@jonesday.com
                          Patrick J. O’Rear
                          porear@jonesday.com
                          JONES DAY
                          77 West Wacker Drive
                          Chicago IL 60601-1692
                          Telephone: (312) 782-3939

                          John G. Froemming
                          jgfroemming@jonesday.com
                          Tracy A. Stitt
                          tastitt@jonesday.com
                          JONES DAY
                          51 Louisiana Avenue, NW
                          Washington, DC 20001
                          Telephone: (202) 872-3939

                          John C. Evans
                          jcevans@jonesday.com
                          JONES DAY
                          901 Lakeside Avenue
                          Cleveland, OH 44114
                          Telephone: (216) 586-3939

Associate Counsel for     Asger Heine Jensen
Defendants:               ahj@horten.dk
                          HORTEN ADVOKATPARTNERSELSKAB
                          Philip Heymans Allé
                          DK-2900 Hellerup
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 33 of 39 PageID #:8370




                             Denmark
                             Telephone: +45 33344387


6.     Nature and purpose of the proceedings and summary of the facts.

        This Letter of Request arises from a design patent infringement civil action (the
“Lawsuit”) currently pending before the Requesting Judicial Authority. Set out in Exhibit 1 is a
detailed summary of the nature and purpose of the proceedings and a summary of the facts.

7.     Evidence to be obtained or other judicial act to be performed.

      The Requesting Judicial Authority seeks oral evidence or testimony to be given by Mr.
Hickmott on the subject matter or topics set out in Exhibit 1.

8.     Identity and address of any person to be examined or whose records are sought.

       SharkNinja identifies the best known address at this time, as follows:

       Richard Morgan Hickmott

       Unnasvej 13

       3000 Helsingør
       Denmark

9.     Questions to be put to the persons to be examined or statement of the subject matter about
which they are to be examined.

       The Requesting Judicial Authority requests that an attorney for the Defendants be
permitted to examine Mr. Hickmott regarding the subject matter or topics set out in Exhibit 1.

10.    Documents or other property to be inspected

      Documentary evidence is not required at this time, but may be sought at a later time after
examination of Mr. Hickmott.

11.   Any requirement that the evidence be on oath or affirmation and any special form to be
used.

        This Court respectfully requests that the examination of Mr. Hickmott be taken pursuant
to the Danish Administration of Justice Act.

12.    Special methods or procedures to be followed.

        This Court respectfully requests that the examination be taken under the United States
Federal Rules of Civil Procedure and the United States Federal Rules of Evidence, except to the
extent that such procedure is incompatible with local law.
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       This Court further requests that the examination occur at a date and time mutually agreed
upon by Mr. Hickmott and the parties. It is also requested that the attorneys for the parties be
permitted to examine the witness directly; that all testimony be recorded verbatim in writing and
on videotape; and that all transcripts of such testimony be authenticated in accordance with the
procedures for the local court and be permitted to be delivered to the parties at the conclusion of
the proceedings for eventual use at trial.

13.     Request for notification of the time and place for the Execution of the Request and
identity and address of any person to be notified.

               This Court respectfully requests that the following be notified of the time and
               place for the execution of the Request:

               Judge John W. Darrah
               United States District Court for the Northern District of Illinois
               Everett McKinley Dirksen United States Courthouse
               Chambers 1288
               219 South Dearborn Street
               Chicago, Illinois 60604

               Please also notify the party representatives identified as follows:

               David L. Witcoff                        Bryan S. Hales, P.C.
               dlwitcoff@jonesday.com                  bhales@kirkland.com
               Justin M. Philpott                      Dennis J. Abdelnour
               jmphilpott@jonesday.com                 dabdelnour@kirkland.com
               Patrick J. O’Rear                       Ian J. Block
               porear@jonesday.com                     ian.block@kirkland.com
               JONES DAY                               Jay J. Emerick
               77 West Wacker Drive                    jay.emerick@kirkland.com
               Chicago IL 60601-1692                   KIRKLAND & ELLIS LLP
               Telephone: (312) 782-3939               300 North LaSalle
                                                       Chicago, Illinois 60654
               John G. Froemming                       Telephone: (312) 862-2000
               jgfroemming@jonesday.com                Facsimile: (312) 862-2200
               Tracy A. Stitt
               tastitt@jonesday.com                    Gregg F. LoCascio, P.C.
               JONES DAY                               glocascio@kirkland.com
               51 Louisiana Avenue, NW                 KIRKLAND & ELLIS LLP
               Washington, DC 20001                    655 Fifteenth Street, N.W.
               Telephone: (202) 872-3939               Washington, D.C. 20005-5793
                                                       Telephone: (202) 879-5000
               John C. Evans                           Facsimile: (202) 879-5200
               jcevans@jonesday.com
               JONES DAY
               901 Lakeside Avenue
               Cleveland, OH 44114
Case: 1:14-cv-00779 Document #: 235-1 Filed: 07/15/16 Page 35 of 39 PageID #:8372




               Telephone: (216) 586-3939


14.     Request for Attendance or Participation of Judicial Personnel of the Requesting Authority
at the Execution of the Letter Request.

       None.

15.    Specification of privilege or duty to give evidence under the law of the State of origin.

        Under the laws of the United States, Mr. Hickmott may refuse to give any evidence
which calls for the disclosure of any confidential communications between Mr. Hickmott and his
counsel wherein such communications are made in the course of a request for legal advice. This
privilege is known as the attorney-client privilege.

        In addition, if Mr. Hickmott performed work at the direction of his counsel for the
purposes of assisting such counsel in anticipation of litigation or the furtherance of litigation, he
may refuse to answer questions concerning such reviews, unless: (1) the answers do not involve
the mental impressions of such counsel; and (2) the examining party can show a substantial need
for the evidence and an inability to obtain the substantive equivalent of the evidence by other
means without undue hardship. This privilege is known as the work-product doctrine.

       If testimony or production of documents is withheld on either of these grounds, a
statement to that effect must be made at the time of the taking of the testimony or production of
documents.

       Unless prohibited by the procedures and laws of Denmark, any dispute regarding the
application of the attorney-client privilege or work-product privilege may be referred to the
United States District Court for the Northern District of Illinois by telephone conference at the
time the dispute arises.

16.    Fees and costs

       The fees and costs incurred which are reimbursable under the second paragraph of Article
14 or under Article 26 of the Convention will be borne by the Defendants up to a total of $500.00.

       Beyond $500.00, fees and costs which are reimbursable under the Convention will be
borne by the Defendants with prior consent of the Defendants. When seeking this consent, the
Witness shall indicate the approximate costs which would result from this procedure. If the
Defendants give consent, they shall reimburse any costs incurred; without such consent, the
Defendants shall not be liable for the costs.
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Witnessed by The Honorable Judge John W. Darrah

       Signed:

       Hon. John W. Darrah
       District Judge, Northern District of Illinois

       Dated:



I, Thomas G. Bruton, Clerk of this United States District Court, keeper of the records and seal,
certify that the Honorable John W. Darrah is and was on this very day noted a Judicial Officer of
the Court, duly appointed, sworn, and qualified, and that I am well acquainted with the Judicial
Officer’s official signature and know and certify the above signature to be that of the Judicial
Officer.

       Signed:

       Thomas G. Bruton
       Clerk of the United States District Court for the Northern District of Illinois

       Dated:



I, Judge John W. Darrah, a Judicial Officer of this Court, certify that Thomas G. Bruton, the
above-named, is and was on the date noted, the Clerk of this Court, duly appointed and sworn
and keeper of the records and seals.

Witnessed by The Honorable Judge John W. Darrah

       Signed:

       Hon. John W. Darrah
       District Judge, Northern District of Illinois

       Dated:
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                                           EXHIBIT 1

         NATURE AND PURPOSE OF THE PROCEEDINGS AND SUMMARY OF THE FACTS

This is a design patent infringement action currently pending before the United States District
Court for the Northern District of Illinois (the “Court”), captioned as Dyson, Inc. et al. v.
SharkNinja Operating LLC et al., No. 14-cv-779 (the “Lawsuit”). The plaintiffs in this Lawsuit
are Dyson, Inc. and Dyson Technology Limited (collectively, “Dyson” or “Plaintiffs”). Plaintiff
Dyson, Inc. is an American corporation established under the laws of the state of Illinois.
Plaintiff Dyson Technology Limited is a private limited company established under the laws of
England and Wales. The defendants in this Lawsuit are SharkNinja Operating LLC and
SharkNinja Sales Company (collectively, “SharkNinja” or “Defendants”). Defendants are
American corporations established under the laws of the state of Delaware.

In the Lawsuit, Dyson alleges that SharkNinja infringes the claimed designs of three United
States design patents: U.S. Design Patent Nos. D577,163 (“’163 patent”), D668,010 (“’010
patent”), and D668,823 (“’823 patent”) (collectively, the “patents-in-suit”). SharkNinja denies
all allegations and further avers that the claimed designs of the patents-in-suit are invalid. On
February 4, 2014, Dyson filed an original complaint against SharkNinja, alleging infringement of
the ’010 and ’823 patents. On March 28, 2014, SharkNinja filed its initial answer, affirmative
defenses, and counterclaims. On May 12, 2014, Dyson filed an amended complaint against
SharkNinja, alleging infringement of the ’163, ’010, and ’823 patents. On May 23, 2014,
SharkNinja filed its answer to Dyson’s amended complaint, affirmative defenses, and
counterclaims.

The patents-in-suit name the following individuals as inventors: Peter David Gammack, James
Dyson, Michael James Peace, William Robert James White, William Frame Milne, and Richard
Morgan Hickmott. In connection with discovery in the Lawsuit, Dyson has produced a number
of documents to SharkNinja, some of which appear to be Dyson internal notebooks,
communications, or other correspondence either from, to, or otherwise mentioning the named
inventor whose testimony SharkNinja presently seeks. Dyson also has alleged dates of invention
of the patents-in-suit that pre-date the respective filing dates of the applications that led to the
patents-in-suit, based in part on the activities of one or more of the named inventors.

                                          THE WITNESS

Mr. Hickmott is a named inventor of the ’163 patent. Moreover, Dyson has confirmed that Mr.
Hickmott is relevant to the Lawsuit. In Dyson’s Fed. R. Civ. P. 26(a)(1) Second Amended
Disclosures, Dyson identified Mr. Hickmott as a person likely to have discoverable information
that Dyson may use to support its claims and/or defenses. In particular, Dyson represented that
Mr. Hickmott formerly was a Senior Design Engineer at Dyson Technology Limited, and that he
is expected to be generally knowledgeable about the conception and development of the designs
described in the ’163 patent, as well as the designs utilized in Dyson’s handheld vacuum cleaners.
Dyson also has produced substantial volumes of documents relating to the conception, reduction
to practice, and development of the claimed designs of all three patents-in-suit that were either
authored or received by Mr. Hickmott, or otherwise mention him. Accordingly, the discovery
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provided by Dyson to SharkNinja in the Lawsuit is consistent with Mr. Hickmott’s key role at
Dyson and his personal involvement in key events relating to Dyson’s claims of design patent
infringement. Given Mr. Hickmott’s key role at Dyson and his personal involvement in such
events, SharkNinja therefore seeks to examine him on the topics listed below, including
documents and communications that relate thereto.

                           TESTIMONY SOUGHT FROM THE WITNESS

In interpreting the requests below, the following definitions should apply:

   1. As used herein, the term “Dyson” shall mean and include Dyson, Inc. and Dyson
      Technology Limited and all predecessors (merged, acquired, or otherwise), subsidiaries,
      parents, joint ventures, and affiliates thereof, and all current and former directors, officers,
      agents, employees, attorneys, and other persons acting on its behalf.

   2. As used herein, the term “Claimed Designs” shall mean and include the designs claimed
      in the patents-in-suit.

SharkNinja believes that Mr. Hickmott has knowledge of:

   1. Matters relating to the patents-in-suit, namely:

       a. The circumstances surrounding the conception, reduction to practice, design, and
          development of the Claimed Designs;

       b. The role(s) played by Mr. Hickmott and the other named inventors, Peter David
          Gammack, James Dyson, William Robert James White, William Frame Milne, and
          Michael James Peace, in the conception, development, and reduction to practice of
          the Claimed Designs, including any alleged diligence between conception of the
          Claimed Designs and their reduction to practice;

       c. The role(s) played by any person other than a named inventor, including but not
          limited to Timothy Nicholas Stickney, Stephen Courtney, and Jon Marsh, in the
          conception, development, and reduction to practice of the Claimed Designs, including
          any alleged diligence between conception of the Claimed Designs and their reduction
          to practice;

       d. Knowledge and understanding of the state of the art of the fields of handheld and
          stick vacuum cleaner design as of the alleged dates of conception of the Claimed
          Designs, including:

           i. the ways in which the Claimed Designs advanced the art in the fields of handheld
              and stick vacuum cleaner design; and
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         ii. Mr. Hickmott’s understanding of the meaning and disclosure made in articles,
             publications, presentations, or papers related to the fields of handheld and stick
             vacuum cleaner design.

     e. Prosecution of the patents-in-suit.

  2. Matters relating to Dyson, namely:

     a. Descriptions of Mr. Hickmott’s work performed, job duties and responsibilities, and
        titles held while employed at Dyson;

     b. The terms of any employment agreements between Dyson and Mr. Hickmott; and

     c. Dyson’s designs for vacuum cleaners and components thereof, including but not
        limited to Dyson’s hand vacuum cleaner designs and stick vacuum cleaner designs.

  3. Matters relating to this Lawsuit, namely:

     a. Mr. Hickmott’s knowledge of the factual basis for Dyson’s accusations of
        infringement against SharkNinja;

     b. The interest Mr. Hickmott has in this Lawsuit, if any;

     c. Discussions between Mr. Hickmott and Dyson about the Lawsuit, and any evidence
        Mr. Hickmott may be able to give in the Lawsuit about those discussions; and

     d. Discussions between Mr. Hickmott and Dyson, or any other person, regarding this
        Lawsuit, and any evidence Mr. Hickmott may be able to give about those discussions.
